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UNITED STATES DISTRICT COURT
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SOUTHERN DISTRICT OF NEW YORK
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UNITED STA TES OF AMERICA
                                                             Order of Restitution
               V.

TODD KOZEL,                                                  Docket No. S l 19 Cr. 460 (KMW)

                      Defendant.




       Upon the application of the United States of America, by its attorney, Damian Williams,

United States Attorney for the Southern District of New York, Louis A. Pellegrino and Olga I.

Zverovich, Assistant United States Attorneys, of counsel; the presentence report; the Defendant' s

conviction on Counts On_e through Five of the above-referenced five-count Information; and all

other proceedings in this case, it is hereby ORDERED that:


       1.      Amount of Restitution

       TODD KOZEL, the Defendant, shall pay restitution in the total amount of $29,462,965.23,

pursuant to I 8 U.S.C. § 3663, to the victim of the offenses charged in Counts One through Five,

as set forth below. Upon advice by the United States Attorney's Office of a change of address of

a victim, the Clerk of the Court is authorized to send payments to the new address without further

order of this Court. The total amount of restitution comprises the following:

                    Tax Year                                 Amount of Restitution

                      2011                                        $12,825 ,598.56

                      2012                                        $7,730,644.98

                      2013                                        $2,887,549.05

                      2014                                        $4,418,650.90
                      2015                                          $1,600,521.74

         Total Amount of Restitution:                              $29,462,965.23


       A.      Joint and Several Liability

       Restitution is not joint and several with other defendants or with others not named herein.

       2.      Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the Defendant, including whether any of these assets are jointly controlled; projected

earnings and other income of the Defendant; and any financial obligations of the Defendant;

including obligations to dependents, the Defendant shall, in the interest of justice, pay restitution

in installments pursuant to 18 U.S.C. § 3572(d)(l) and (2) as follows:

       (1) The Defendant shall commence monthly installment payments in an amount of at least

10 percent of the Defendant's gross income, payable on the first day of each month, starting

immediately upon entry of this judgment or upon the Defendant' s release from prison if the

Defendant is sentenced to a term of incarceration; and

       (2) While serving the term of imprisonment, the Defendant shall make installment

payments toward his restitution obligation, and may do so through the Bureau of Prisons' ("BOP")

Inmate Financial Responsibility Plan (" IFRP"). Pursuant to BOP policy, the BOP may establish

a payment plan by evaluating the Defendant's six-month deposit history and subtracting an amount

determined by the BOP to be used to maintain contact with family and friends. The remaining

balance may be used to determine a repayment schedule. BOP staff shall help the Defendant

develop a financial plan and shall monitor the Defendant's progress in meeting his restitution

obligation. Any unpaid amount remaining upon release from prison will be paid in installments

of at least 10 percent of the Defendant's gross income on the first day of each month.

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       3.       Payment Instructions

        The Defendant shall make restitution payments by certified check, bank check, money

order, wire transfer, credit card or cash. Checks and money orders shall be made payable to the

"SONY Clerk of the Court" and mailed or hand-delivered to: United States Courthouse, 500 Pearl

Street, New York, New York 10007 - Attention: Cashier, as required by 18 U.S.C. § 3611. The

Defendant shall write his name, Social Security number, and the docket number of this case on

each check or money order. Credit card payments must be made in person at the Clerk's Office.

Any cash payments shall be hand delivered to the Clerk's Office using exact change, and shall not

be mailed. For payments by wire, the Defendant shall contact the Clerk's Office for wiring

instructions.

        The Clerk' s Office shall forward all restitution payments to the victim in this case, the

Internal Revenue Service ("IRS"), at the below address within 30 days of receiving said payments

from the Defendant:

        IRS -RACS
        Attn: Mail Stop 6261, Restitution
        333 W. Pershing Ave.
        Kansas City, MO 64108

        The Clerk's Office shall ensure that the Defendant's name, Social Security number, and

the docket number of this case are indicated on the payment prior to forwarding the payment to

the IRS.

        4.      Additional Provisions

        The Defendant shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney's

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Unit) of (1) any change of the Defendant's name, residence, or mailing address or (2) any material


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change in the Defendant's financial resources that affects the Defendant' s ability to pay restitution

in accordance with 18 U.S.C. § 3664(k). If the Defendant discloses, or the Government otherwise

learns of, additional assets not known to the Government at the time of the execution of this order,

the Government may seek a Court order modifying the payment schedule consistent with the

discovery of new or additional assets.

        5.      Restitution Liability

        The Defendant's liability to pay restitution shall terminate on the date that is the later of20

years from the entry of judgment or 20 years after the Defendant's release from imprisonment, as

provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the

event of the death of the Defendant, the Defendant's estate will be held responsible for any unpaid

balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.



        AGREED AND CONSENTED TO:

        DAMIAN WILLIAMS
        United States Attorney for the
        Southern District of New York




        By:                                                            1/20/2022

                Olga I. Zverovich, AUSA                                DATE
                One Saint Andrew's Plaza
                New York, NY 10007
                Tel.: (212) 637-2514

        TODD KOZEL

        By:
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                                                                       DATE
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By:


       endall Coffey, Esq.
      Attorney for Todd Ko el /




SO ORDERED:

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HONORABLE KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE




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